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                                               March 11, 2022
Hon. Allison D. Burroughs
U.S.D.C. (D. Mass.)
John Joseph Moakley U.S. Courthouse
1 Courthouse Way – Suite 2300
Boston , MA 02210

Re:      Michael Bush, pro se, et al.
vs.      Linda Fantasia, et al.
         U.S.D.C. (D. Mass) Docket No. C.A. No. 1:21-cv-11794-ADB

Dear Judge Burroughs:

        Defendants wish to bring to the Court’s attention that the mask mandate challenged by
plaintiffs in the above-captioned matter was rescinded by the Carlisle Board of Health on February
23, 2022, and replaced with a mask advisory. The following day, the Board of Health posted the
following notice on its website:

         Based on current COVID-19 data and trends, the Carlisle Board of Health, at their meeting
         on February 23, 2022, voted unanimously to lift the Indoor Mask Mandate for all public
         buildings and facilities open to the public in Carlisle and to replace the Mask Mandate with
         a Mask Advisory in accordance with the recommendations established by the Center for
         Disease Control (CDC) and adopted by the Mass. Dept. of Public Health on February 15,
         2022. Further information is available at www.mass.gov/maskrules.

On March 8, 2022, the Carlisle Select Board voted to support the Board of Health’s decision.

         Thank you for your attention to this matter.

                                               Very truly yours,

                                               PIERCE DAVIS & PERRITANO LLP

                                               /s/ John J. Davis

                                               John J. Davis
JJD/bf
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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing, filed through the Electronic Case Filing System, will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
and that a paper copy shall be served upon those indicated as non-registered participants on
March 11, 2022 as follows:

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                                               /s/ John J. Davis
                                               _________________________
                                               John J. Davis, Esq.
